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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                         Plaintiff(s),                  CASE NUMBER: 05-80025
                                                        HONORABLE VICTORIA A. ROBERTS
v.

D-1 TIMOTHY DENNIS O’REILLY,

                Defendant(s).
_________________________________/

                                                  ORDER

        On August 18, 2010, Timothy O’Reilly filed a “Motion in Limine to Exclude

Reference to Specific Inmates Within the Control of the Bureau of Prisons.” (Doc.

#626). O’Reilly asks the Court to prohibit the Government from eliciting, in its rebuttal

case, testimony regarding the inability of the Bureau of Prisons (“BOP”) to control

specific inmates who committed murders or assaults while housed in federal institutions.

        The Court heard oral argument on August 19, 2010.

        The motion is MOOT, since the Government opted to not call the BOP witness.

        IT IS ORDERED.

                                                  s/Victoria A. Roberts
                                                  Victoria A. Roberts
                                                  United States District Judge
Dated: August 23, 2010
 The undersigned certifies that a copy of this
 document was served on the attorneys of record
 by electronic means or U.S. Mail on August 23,
 2010.

 s/Linda Vertriest
 Deputy Clerk



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